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 4
 5   Attorney for Defendant
     FREDERIC JOSEPH MACIAS
 6
 7
 8                       IN THE UNITED STATES DISTRICT COURT
 9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA,       )      CR. NO. S-06-306 DLJ
                                     )
13                  Plaintiff,       )      AMENDED STIPULATION AND ORDER
                                     )
14        v.                         )      Date: 12/6/2007
                                     )      Time: 2:30
15   FREDERIC JOSEPH MACIAS,         )      Hon. Edmund F. Brennan
                                     )
16                  Defendant.       )
                                     )
17   _______________________________ )
18
          Defendant, Frederic Joseph Macias, through Christopher Haydn-Myer,
19
     Attorney At Law, and the United States of America, through Assistant
20
     U.S. Attorney Jason Hitt, and Steven J. Sheehan, United States Pre-
21
     Trial Service Officer hereby agree as follows:
22
          It is agreed that if the Court agrees Mr. Frederic Macias is to be
23
     released from custody pursuant to the original terms imposed by the
24
     Honorable Kimberly J. Mueller on July 18, 2006, [Doc. 4] with two
25
     modifications.
26
          First, Mr. Macias must reside with his sister Ms. Lanall Macias at
27
     1137 Acacia Street, Stockton, California 95203.         Mr. Macias cannot
28
            Case 2:06-cr-00306-JAM Document 47 Filed 12/05/07 Page 2 of 3


 1   reside with his parents.
 2        Second, Mr. Macias must wear an electronic monitor while he is out
 3   of custody on supervised release.
 4        The stipulation and proposed order are necessary because on
 5   September 4, 2007, the Honorable Gregory G. Hollows ordered that Mr.
 6   Macias’ terms of supervised release be terminated because of pretrial
 7   release violations.    Counsel for Mr. Macias had no objections at the
 8   time, but requested that the court revisit the matter within sixty to
 9   ninety days of that date to determine if Mr. Macias should be released
10   and monitored by Pre-Trial Services. [Doc. 37] It has been over 70 days
11   since Mr. Macias was remanded into custody.        Counsel has contacted both
12   Mr. Sheehan and Mr. Hitt, and the stipulation and proposed order are
13   being requested by all parties.
14
15   Dated: December 5, 2007
16                                          Respectfully submitted,
17                                          /s/ Christopher Haydn-Myer
                                            ________________________________
18                                          CHRISTOPHER HAYDN-MYER
                                            Attorney for Defendant
19                                          Frederic Macias
20
     DATED: December 5, 2007                /S/ Christopher Haydn-Myer for
21                                          Jason Hitt
                                            Assistant U.S. Attorney
22
     DATED: December 5, 2007                /S/ Christopher Haydn-Myer for
23                                          Steven J. Sheehan
                                            Pre-Trial Services
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28                                           2
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 1                                   ORDER
 2        FOR GOOD CAUSE SHOWN, IT IS SO ORDERED that Mr. Frederic Macias is
 3   to be released from custody pursuant to the original terms imposed by the
 4   Honorable Kimberly J. Mueller on July 18, 2006, with two modifications.
 5        First, Mr. Macias must reside with his sister Ms. Lanall Macias at
 6   1137 Acacia Street, Stockton, California 95203.          Mr. Macias cannot reside
 7   with his parents.
 8        Second, Mr. Macias must wear an electronic monitor while he is out
 9   of custody on Pre-Trial release.
10        Further, Mr. Macias shall be placed on home detention while on
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     electronic monitoring, and he is restricted to his residence at all
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     times except for verifiable employment, religious obligations, medical
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     appointments, substance abuse or mental health treatment,
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     attorney/court appointments, or activities pre-approved by Pretrial
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     Services.
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17   DATED:   December 5, 2007.

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